                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,                             No. 23-CR-86 CJW-MAR
                 Plaintiff,
 vs.                                 ORDER REGARDING MAGISTRATE
                                           JUDGE’S REPORT AND
 DENNIS MCKINNEY,
                                            RECOMMENDATION
           Defendant.                  CONCERNING DEFENDANT’S
                                               GUILTY PLEA
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                    I.        INTRODUCTION AND BACKGROUND
        On March 6, 2024, a three-count Superseding Indictment was filed against
defendant. On April 16, 2024, defendant appeared before United States Magistrate
Judge Mark A. Roberts and entered a plea of guilty to count two of the Superseding
Indictment. On April 16, 2024, Judge Roberts filed a Report and Recommendation
(“R&R”) in which he recommended defendant’s guilty plea be accepted. The parties
did not file objections to Judge Roberts’ R&R. The Court, therefore, undertakes the
necessary review of Judge Roberts’ recommendation to accept defendant’s plea in this
case.
                                    II.    ANALYSIS
        Under the statute, this Court’s standard of review for a magistrate judge’s R&R is
as follows:
        A judge of the court shall make a de novo determination of those portions
        of the report or specified proposed findings or recommendations to which
        objection is made. A judge of the court may accept, reject, or modify, in
        whole or in part, the findings or recommendations made by the magistrate
        judge.

28 U.S.C. § 636(b)(1)(C).
        When parties do not object to a magistrate judge’s report and recommendation,
the Court reviews the report and recommendation for clear error.            28 U.S.C. §

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636(b)(1)(A). Similarly, Federal Rule of Criminal Procedure 59(b) provides for review
of a magistrate judge’s R&R on dispositive motions, where objections are made, as
follows:
       The district judge must consider de novo any objection to the magistrate
       judge’s recommendation. The district judge may accept, reject, or modify
       the recommendation, receive further evidence, or resubmit the matter to the
       magistrate judge with instructions.

FED. R. CRIM. P. 59(b)(3).1
       In this case, the parties filed no objections, and it appears to the Court upon review
that Judge Roberts’ findings and conclusions are not clearly erroneous. Therefore, the
Court ACCEPTS Judge Roberts’ R&R of April 16, 2024, and ACCEPTS defendant’s
plea of guilty in this case to count two of the Superseding Indictment.
       IT IS SO ORDERED this 1st day of May, 2024.



                                          _________________________
                                          C.J. Williams, Chief Judge
                                          United States District Court
                                          Northern District of Iowa




1
   United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016) (per curiam),
suggests that a defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed.



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